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                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF OHIO
                     COLUMBUS DIVISION


   Christina Littler, on behalf of                 Case No. 2:18-cv-1745
   herself and all others similarly
   situated,

                          Plaintiff,
                                                   Plaintiff’s First Amended
   v.                                              Class-Action Complaint
                                                   Jury Trial Demanded
   Ohio Association of Public School
   Employees; South-Western City
   School District,

                          Defendants.


        Plaintiff Christina Littler is a former member of the Ohio Association of Public
   School Employees (OAPSE). She brings this class action on behalf of herself and
   others similarly situated, seeking redress for the defendants’ past and ongoing viola-
   tions of her constitutionally protected rights. The defendants have violated Ms.
   Littler’s constitutional rights by establishing an “agency shop,” where employees
   were compelled to pay money to OAPSE as a condition of employment. And the
   defendants are continuing to violate Ms. Littler’s rights by deducting union dues
   from her paycheck — even after she clearly and unequivocally communicated to both
   the union and her employer that she has terminated her union membership and re-
   voked her consent to the payroll deductions of union fees.

                            JURISDICTION AND VENUE
        1. The Court has subject-matter jurisdiction under 28 U.S.C. § 1331, 28
   U.S.C. § 1343, and 28 U.S.C. § 1367.
        2. Venue is proper because at least one defendant resides or has its offices locat-
   ed in this judicial district. See 28 U.S.C. § 1391(b)(2).


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                                         PARTIES
      3. Plaintiff Christina Littler resides in Franklin County, Ohio.
      4. Defendant Ohio Association of Public School Employees (OAPSE) is a labor
   union whose offices are located at 6805 Oak Creek Drive, Columbus, Ohio 43229-
   1591. OAPSE is also known as AFSCME Local 4/AFL-CIO.
      5. Defendant South-Western City School District is a public-school district
   whose offices are located at 3805 Marlane Drive, Grove City, Ohio 43123.
          CLAIM NO. 1 — UNCONSTITUTIONAL AGENCY SHOP
      6. Plaintiff Christina Littler is a bus driver for the South-Western City School
   District.
      7. Before the Supreme Court’s ruling in Janus v. American Federation of State,
   County, and Municipal Employees, Council 31, 138 S. Ct. 2448 (2018), Ms. Littler
   worked in an “agency shop,” where employees were forced to either join OAPSE
   and pay full membership dues, or else pay “fair-share fees” to the union. See Ohio
   Rev. Code § 4117.09(B)(2)(C) (attached as Exhibit 1); Collective Bargaining
   Agreement Between the Ohio Association of Public School Employees AFSCME

   Local 4/AFL-CIO South-Western City Schools, Local #211 and South-Western
   City    School     District   Board        of   Education,   § 501,    available      at

   http://www.serb.ohio.gov/sections/research/WEB_CONTRACTS/16-MED-03-
   0346.pdf (last visited on July 8, 2019).
      8. Ms. Littler opposed and continues to oppose paying dues to OAPSE because
   she disapproves of OAPSE’s political advocacy and collective-bargaining activities.
      9. Nevertheless, Ms. Littler reluctantly joined and remained a member of
   OAPSE because the difference between the cost of full union membership and the
   compulsory “fair-share fees” would not have been worth the loss of her vote or




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   whatever little influence she might have been able to assert in collective-bargaining
   matters.
      10. The compelled subsidy that Ms. Littler and her fellow class members were
   forced to pay to OAPSE violated their constitutional rights — regardless of whether
   they remained in the union and paid full membership dues (as Ms. Littler did) or
   resigned their membership and paid “fair-share fees” (as others had done). See Janus
   v. Am. Fed’n of State, Cty., and Mun. Employees, Council 31, 138 S. Ct. 2448
   (2018).
      11. The Supreme Court’s ruling in Janus is retroactive. See Harper v. Virginia
   Dep’t of Taxation, 509 U.S. 86, 96 (1993) (“[A] rule of federal law, once an-
   nounced and applied to the parties to the controversy, must be given full retroactive
   effect by all courts adjudicating federal law.”).
      12. OAPSE and the South-Western City Schools were acting under color of
   state law by imposing these mandatory union payments on the plaintiffs and their
   fellow class members. See, e.g., Ohio Rev. Code § 4117.09(B)(2)(C) (attached as
   Exhibit 1); Lugar v. Edmondson Oil Co. Inc., 457 U.S. 922 (1982) (holding private

   parties subject to liability under 42 U.S.C. § 1983 when acting under an unconstitu-
   tional statute).

      13. Ms. Littler and her fellow class members are therefore entitled to a refund of
   the money that was forcibly taken from them in violation of their constitutionally
   protected rights. Indeed, the text of 42 U.S.C. § 1983 compels this result. See 42
   U.S.C. § 1983.
      14. The affirmative defense of qualified immunity is unavailable to private enti-
   ties such as labor unions. See Wyatt v. Cole, 504 U.S. 158, 161 (1992).
      15. Even if the union could attempt to assert an affirmative defense such as qual-
   ified immunity or “good faith,” those defenses can provide immunity only from



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   money damages, and they do not confer immunity when a plaintiff seeks equitable
   monetary relief such as backpay, restitution, or unjust enrichment, which Ms. Littler
   and her fellow class members are asserting here. See Wood v. Strickland, 420 U.S.
   308, 315 n.6 (1975), overruled in part on other grounds, Harlow v. Fitzgerald, 457
   U.S. 800 (1982) (“[I]mmunity from damages does not ordinarily bar equitable re-
   lief as well.”).
       16. Finally, even if this Court were to allow the union to assert a “good faith”
   defense to the plaintiffs’ section 1983 claims, the union must still show that it com-
   plied with pre-Janus case law before it can escape liability under section 1983. See
   Abood v. Detroit Board of Education, 431 U.S. 209, 239–40 (1977). Under Abood,
   public-employee unions were permitted to require non-members to pay only for un-
   ion activities that were non-ideological, and they were forbidden to require an em-
   ployee to “contribute to the support of an ideological cause he may oppose as a
   condition of holding a job.” Abood, 431 U.S. at 235; see also R.J. Reynolds Tobacco
   Co. v. Shewry, 423 F.3d 906, 916 (9th Cir. 2005). So the union must, at the very
   least, prove that it complied with Abood before it can establish a “good faith” de-

   fense under section 1983.
       17. OAPSE and the South-Western City School District have also committed

   the torts of conversion and trespass to chattels by taking and redirecting money
   from Ms. Littler’s paycheck against her will, and they are liable to refund this money
   in an action for tort, replevin, restitution, unjust enrichment, and any other state-law
   cause of action that offers relief for this unlawful confiscation of her wages.
       18. Ms. Littler sues on behalf of all current and former public employees who
   were compelled to subsidize OAPSE against their will on account of this unconstitu-
   tional agency-shop arrangement. The class includes: (1) employees who refused to
   join the union and paid “fair-share fees”; (2) employees who joined the union be-



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   cause they were never informed of their constitutional right to decline union mem-
   bership and pay a slightly reduced amount in “fair-share fees”; (3) employees who
   reluctantly joined OAPSE but who never would have joined or paid any money to
   the union had they not been compelled to work in an unconstitutional agency shop;
   and (4) any other public employee who was offered membership in OAPSE while
   working in an agency shop.
      19. Ms. Littler and her fellow class members are entitled to a refund in the
   amount of the “fair-share fees” that they were forced to pay regardless of whether
   they retained or resigned their union membership. Ms. Littler and her fellow class
   members are seeking this recovery under 42 U.S.C. § 1983 and state tort law, and
   they are demanding equitable monetary relief including backpay, restitution, and
   unjust enrichment. Ms. Littler and her fellow class members are also seeking money
   damages against the defendants to the extent permitted under immunity doctrines.
      20. OAPSE and the class members’ public employers are jointly and severally li-
   able for this money that was taken in violation of the class members’ constitutional
   rights and in violation of state tort law.

      21. Ms. Littler has Article III standing to bring these claims. She has suffered in-
   jury in fact because she was forced to pay money to OAPSE as a condition of her

   employment. The injury was caused by the unconstitutional behavior of the defen-
   dants, and the injury will be redressed by refunding the money that the union un-
   constitutionally extracted from Ms. Littler and her fellow class members.

      CLAIM NO. 2—UNCONSTITUTIONAL GARNISHMENT OF
                    WAGES POST-JANUS
      22. After the Supreme Court’s ruling in Janus, Ms. Littler resigned her union
   membership and demanded that the union and her employer halt the payroll deduc-
   tions of union fees.




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      23. On August 22, 2018, Ms. Littler sent the following e-mail to Gary Martin,
   the Director of Membership Services for OAPSE, and Hugh Garside, the Treasurer
   and Chief Fiscal Officer for South-Western City School District:

          To Whom It May Concern:

          I am an employee at South Western City Schools and am in the
          AFSCME 4/211.

          With this letter, I am notifying you that I am immediately withdraw-
          ing my union membership as is my right under the First Amendment
          as expressed by the Supreme Court ruling in Janus v. AFSCME.

          If, at a future date, I determine that being a member of AFSCME
          4/211 is in my interest, I may rejoin.

          I ask that you notify me immediately in writing if you are not willing
          to honor my rights, provide me with the legal reasons for your refusal,
          and outline the process I need to undertake to withdraw my member-
          ship.

          Sincerely,

          Christina Littler
          [Personal e-mail redacted]
          Transportation Bus Driver
          Member AFSCME #12522507
   A copy of this e-mail is attached as Exhibit 2.
      24. On August 22, 2018, Mr. Garside replied to Ms. Littler’s e-mail and wrote:

   “Christina, Please accept this response as confirmation that your email was received
   by the treasurer’s office. Hugh.” See Exhibit 3.
      25. Later that day, Mr. Garside sent a follow-up e-mail to Ms. Littler that said:
   “Christina, Quick follow up. I have forwarded your information to Kelly Congrove,
   Administrative Assistant - Accounting with OAPSE downtown. They will handle it
   from there. Hugh.” See Exhibit 4.



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      26. Neither Mr. Martin nor Ms. Congrove replied to Ms. Littler’s e-mail of Au-
   gust 22, 2018, and Ms. Littler has never received an e-mail response or acknowl-
   edgement from anyone in OAPSE.
      27. Between August 22, 2018, and August 28, 2018, Chad Caldwell, a field
   representative for OAPSE, called and left voicemails for Ms. Littler on her private
   phone line, informing her that the union would not accept her withdrawal from
   membership. In response to these calls, Ms. Littler sent the following e-mail to Gary
   Martin and Hugh Garside on August 28, 2018:

          I have received several phone calls and voicemails on my private phone
          number from Chad Caldwell. Its unsolicited and unwanted. I ask for
          any additional requirements be put in writing. Email form [redacted].
          Mr. Caldwell stated on my voicemail my withdrawal from the union
          will NOT be accepted.

          I do not authorize any deductions from my pay for union fees..

          Again I ask that you notify me immediately in writing if you are not
          willing to honor my rights, provide me with the legal reasons for your
          refusal, and outline the process I need to undertake to withdraw my
          membership. What page in contract to refer.

          Thank you,
          Christina Littler
          Member # 12522507
   See Exhibit 5. No one from the union replied to or acknowledged this e-mail.
      28. After Ms. Littler resigned from the union, neither the union nor the school
   district took union fees from the paychecks that Ms. Littler received on September
   5, 2018; September 20, 2018; October 5, 2018; and October 19, 2018. See Exhib-
   its 7–10.
      29. But when Ms. Littler received her paycheck on November 5, 2018, the
   school district’s payroll department had diverted $31.64 to OAPSE — even though




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   the school district knew that Ms. Littler had resigned her union membership. See
   Exhibit 8.
      30. Ms. Littler immediately e-mailed Hugh Garside, the Treasurer and Chief
   Fiscal Officer for South-Western City School District, who had received and
   acknowledged Ms. Littler’s earlier e-mail resigning her union membership. Ms. Lit-
   tler wrote:

          I opted out of union. Received deduction on payroll for Nov 5th pay.

          OAPSE 31.64 409.92

          Why would I still have a deduction for union fees?

          Thank you
          Christina Littler
          Transportation
   See Exhibit 3.
      31. On November 6, 2018, Mr. Garside replied to Ms. Littler’s e-mail and
   wrote: “Christina, Sorry for the delay. I know you have spoken to Nanette Spears in
   payroll about this issue as well. We must use the deduction list that is provided by
   OASPE. You will need to discuss this with them. Hugh” See Exhibit 3.
      32. Nanette Spears, who works in the school district’s payroll office under Mr.
   Garside, had told Ms. Littler that the school district was deducting union fees be-
   cause her name appeared on a “new fair share list” provided by the union.
      33. Ms. Littler has made repeated attempts to stop OAPSE from tapping her
   paycheck, but the union has been uncooperative.
      34. On November 7, 2018, Ms. Littler e-mailed Kelly Congrove, who works in
   the Accounting Department of OAPSE and to whom Mr. Garside had forwarded
   Ms. Littler’s union-resignation e-mail of August 22, 2018. Ms. Littler wrote:




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          I opted completely out of union on August 22nd per attached email. I
          received a payroll deduction on Nov 5 for 31.64 fair share fees.

          I’m completely opted out. No fair share fees should be deducted from
          my paycheck. Please refund 31.64 and take me off fair share fees.

          I’m no longer affiliated with the union. I have not authorized a pay-
          roll deduction.

          Christina Littler
          Transportation SWCS
          12522507
   See Exhibit 6. No one from the union has acknowledged or replied to Ms. Littler’s
   e-mail of November 7, 2018.
      35. OASPE and the South-Western City School District continued to take un-
   ion fees from Ms. Littler’s paycheck despite her resignation from the union and in
   defiance of her instructions to halt the payroll deduction of membership dues. Ms.
   Littler’s paychecks of November 20, 2018, and December 5, 2018, have $31.64 in
   membership dues diverted to OAPSE, even though Ms. Littler is no longer a mem-
   ber of that union. See Exhibits 12–13.
      36. The defendants’ refusal to immediately honor and implement Ms. Littler’s
   resignation from the union violate the Speech Clause and the Supreme Court’s rul-
   ing in Janus. Public employees have a constitutional right to resign their union
   membership at any time. See Roberts v. U.S. Jaycees, 468 U.S. 609, 623 (1984)
   (“Freedom of association . . . plainly presupposes a freedom not to associate.” (cit-
   ing Abood v. Detroit Bd. of Educ., 431 U.S. 209, 234–35 (1977))). And once an
   employee quits the union, both the union and the employer are forbidden to divert
   the non-member’s wages to the union unless the employee “clearly and affirmatively
   consent[s] before any money is taken.” Janus, 138 S. Ct. at 2486.
      37. Ms. Littler ceased to be a member of OAPSE when she e-mailed her resig-
   nation to Gary Martin and Hugh Garside on August 22, 2018. See Exhibit 2. Now


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    that Ms. Littler has quit the union, the union and the school district are forbidden
    to divert union fees from Ms. Littler’s paycheck unless they secure Ms. Littler’s
    clear, affirmative, and freely given consent in advance. See Janus, 138 S. Ct. at 2486.
    The union must refund all money that it took from Ms. Littler after she informed
    the union of her resignation on August 22, 2018, and the school district is jointly
    and severally liable for membership dues that were garnished from Ms. Littler’s wag-
    es after August 22, 2018. See 42 U.S.C. § 1983.
       38. OAPSE and the South-Western City School District have also committed
    the torts of conversion and trespass to chattels by taking and redirecting money
    from Ms. Littler’s paychecks without securing her clear, affirmative, and freely given
    consent — and the union and the school district are continuing to commit those
    torts by taking union membership dues from Ms. Littler against her clearly ex-
    pressed wishes. The union and the school district are liable to refund this money in
    an action for tort, replevin, restitution, unjust enrichment, and any other state-law
    cause of action that offers relief for this unlawful confiscation of Ms. Littler’s wages.
       39. The union’s defiance of Ms. Littler’s resignation — and its continuing defi-

    ance of Ms. Littler’s instructions to halt the payroll deductions of union dues —
    expose the union to punitive damages.

       40. Ms. Littler is suing on behalf of all employees in bargaining units represent-
    ed by OAPSE or its affiliates who, at any time after Janus: (1) informed the union or
    their employer that they wished to terminate their union membership or the payroll
    deduction of union-membership fees; and (2) had union fees diverted from their
    paycheck after informing the union or their employer of their desire to terminate
    union membership or halt the diversion of union fees. The class includes anyone
    who comes within the class definition at any time before the conclusion of this ac-
    tion.



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       41. Ms. Littler has Article III standing to bring these claims. Ms. Littler has suf-
    fered injury in fact because the union and her employer have taken union member-
    ship dues from their paychecks after they had informed them that they wanted to
    quit the union and halt the payment of membership dues. These injuries are caused
    by the unconstitutional behavior of the defendants, and the injury will be redressed
    by a refund of money that the union and the county unlawfully diverted from the
    plaintiffs and their fellow class members, as well as an injunction that orders the un-
    ion to immediately honor an employee’s resignation from union membership and
    bars the defendants from collecting union fees from any non-union member absent
    that employee’s “clear and affirmative consent.”
          CLAIM NO. 3 — FAILURE TO SECURE FREELY GIVEN
                 AND FULLY INFORMED CONSENT
       42. There is a more serious problem with the union’s collection of membership
    dues from Ms. Littler’s paycheck: Ms. Littler never provided her freely given consent
    to the payment of union membership dues. When Ms. Littler “agreed” to become a

    union member and pay membership dues, she did so while working in an unconsti-
    tutional agency shop, where she was compelled to pay at least the amount of “fair-
    share fees” to the union regardless of whether she joined. An employee who is told:
    “Join the union and pay full membership dues or else we will take $400 per year

    from your paycheck without your consent,” and then decides to the join the union
    and pay full membership dues in response to this “offer,” has not provided “freely
    given” consent to union membership or the payment of full membership dues.
       43. An employee who joins the union under these circumstances has consented
    to pay only the difference between full membership dues and the “fair-share fees”
    that would have been imposed whether they joined the union or not. Any agree-
    ment by Ms. Littler to pay that difference does not represent “consent” to pay full
    membership dues in a right-to-work situation.


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       44. Finally, a waiver of constitutional rights cannot be presumed, and must be
    “freely given and shown by ‘clear and compelling’ evidence.” Janus, 138 S. Ct. at
    2486. The union cannot tap Ms. Littler’s paycheck — or any other employee’s
    paycheck — unless it can show that the employee has waived his or her constitutional
    right to withhold payments to a public-employee union, and such a waiver must be
    “freely given and shown by ‘clear and compelling’ evidence.” Janus, 138 S. Ct. at
    2486. OAPSE cannot make this showing when Ms. Littler agreed to join the union
    and pay membership dues while working in an unconstitutional agency shop that
    threatened her with an unconstitutional financial penalty if she declined to join the
    union.
       45. OAPSE cannot treat a public employee’s pre-Janus consent to union mem-
    bership as a “freely given” waiver of that employee’s constitutional right to withhold
    payments to the union in a post-Janus, right-to-work setting. Any such waiver of a
    public employee’s Janus rights must be fully informed, freely given, and shown by
    clear and compelling evidence. See Janus, 138 S. Ct. at 2486. The Court should
    therefore: (1) Declare that Ms. Littler’s consent to pay union-membership dues

    while working in an unconstitutional agency shop is legally insufficient to allow pay-
    roll deductions to continue in a post-Janus, right-to-work environment; and (2) En-

    join OAPSE from deducting union-related fees from an employee’s paycheck until
    that employee provides written authorization that: (a) post-dates the Supreme
    Court’s ruling in Janus; and (b) shows that the employee knowingly and freely
    waived his or her constitutional right to resign from union membership and with-
    hold payments to the union.
       46. Ms. Littler is suing on behalf of all employees in bargaining units represent-
    ed by OAPSE who: (1) want to resign or have attempted to resign their union
    membership and terminate financial support of the union; or (2) would choose to



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    leave or would have chosen to leave the union and terminate financial support if
    they were fully informed of their constitutional right to do so; (3) would decline to
    opt in to union membership by providing “clear and affirmative assent” if they were
    fully informed of their constitutional rights under Janus; (4) enrolled in union
    membership before or after Janus without signing a fully informed and freely given
    waiver of one’s constitutional rights to decline union membership and withhold fi-
    nancial support from the union. The class includes anyone who comes within the
    class definition at any time before the conclusion of this action.
       47. Ms. Littler has Article III standing to bring these claims. She has suffered in-
    jury in fact because the union and her employer have taken money from her
    paycheck without securing her fully informed and freely given consent. These inju-
    ries are caused by the unconstitutional behavior of the defendants, and the injury
    will be redressed by a refund of money that the union unlawfully collected from Ms.
    Littler and her fellow class members, as well as an injunction that bars the collection
    of membership dues from any employee who has not knowingly and voluntarily
    waived his or her constitutional right to withhold payments from the union.

                                    CAUSES OF ACTION
       48. Ms. Littler is suing the defendants under 42 U.S.C. § 1983 and the Declara-

    tory Judgment Act, 28 U.S.C. § 2201, each of which supplies a cause of action for
    the individual and class-wide relief that she is requesting.
       49. Ms. Littler is also suing the defendants under the state-law torts of conver-
    sion, trespass to chattels, replevin, restitution, unjust enrichment, and any other
    state-law cause of action that offers relief for this unlawful seizure of her personal
    property. Ms. Littler invokes the supplemental jurisdiction of this court over these
    pendent state-law claims. See 28 U.S.C. § 1367.




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                     DEMAND FOR RELIEF — CLAIM NO. 1
       50. Ms. Littler respectfully requests that the court:
            a.     certify a plaintiff class of all current and former public employees
                   who were compelled to subsidize OAPSE or its affiliates against
                   their will on account of the union’s unconstitutional agency-shop ar-
                   rangements. The class includes: (1) employees who refused to join
                   the union and paid “fair-share fees”; (2) employees who joined the
                   union because they were never informed of their constitutional right
                   to decline union membership and pay a reduced amount in “fair-
                   share fees”; (3) employees who reluctantly joined OAPSE but who
                   never would have joined or paid any money to the union had they
                   not been compelled to work in an unconstitutional agency shop;
                   and (4) any other public employee who was offered membership in
                   OAPSE while working in an agency shop.
            b.     order OAPSE to refund to every class member an amount equal to
                   the “fair-share fees” that each class member was forced to pay re-

                   gardless of whether they retained or resigned their union member-
                   ship, along with pre-judgment and post-judgment interest;

            c.     order OAPSE to refund any and all “fair-share fees” that were spent
                   on political and ideological expenditures, in violation of Abood and
                   pre-Janus cases, along with pre-judgment and post-judgment inter-
                   est;
            d.     hold the South-Western City School District jointly and severally li-
                   able for the recovery of union fees that were taken from its employ-
                   ees against their will;
            e.     award costs and attorneys’ fees under 42 U.S.C. § 1988;



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            f.     grant all other relief that the Court deems just, proper, or equitable.
                     DEMAND FOR RELIEF — CLAIM NO. 2
       51. Ms. Littler respectfully requests that the court:
            a.     certify a plaintiff class of all employees in bargaining units represent-
                   ed by OAPSE who, at any time after Janus: (1) informed the union
                   or their employer that they wished to terminate their union mem-
                   bership or the payroll deduction of union-membership fees; and (2)
                   had union fees diverted from their paycheck after informing the un-
                   ion or their employer of their desire to terminate union membership
                   or halt the diversion of union fees;
            b.     declare that OAPSE and the South-Western City School District are
                   violating Ms. Littler’s constitutional rights by refusing to honor her
                   resignation from union membership and her instructions to halt the
                   payroll deduction of union fees, after she had clearly communicated
                   her desire to resign from the union and stop the payroll deductions
                   of union-related fees to both the union and her employer;

            c.     declare that OAPSE and the South-Western City School District are
                   violating state tort law by garnishing and redirecting the wages of

                   Ms. Littler and her fellow class members without first obtaining
                   their knowing, written, and freely given consent, and that any feder-
                   al or state law or collective-bargaining agreement that purports to
                   override these protections of state tort law is unconstitutional, void,
                   and without legal effect;
            d.     declare that all provisions in collective-bargaining agreements that
                   instruct a public employer to deduct union-related fees from an em-
                   ployee’s paycheck upon the union’s request and without regard to



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                   whether the employee has “clearly and affirmatively consented” to
                   these payroll deductions are unconstitutional, void, and without le-
                   gal effect;
            e.     permanently enjoin the defendants, along with their officers, agents,
                   servants, employees, attorneys, and any other person or entity in ac-
                   tive concert or participation with them, from collecting or deducting
                   union fees from Ms. Littler or other public employees who have in-
                   formed the union or their employer that they wish to terminate their
                   union membership or the payroll deduction of union fees, unless
                   and until the employee “clearly and affirmatively consents” to pay;
            f.     order OAPSE to refund all union-related fees that they took or re-
                   directed from Ms. Littler and all other class members who, at any
                   time after Janus, clearly communicated their desire to resign from
                   the union or instructed the union to stop taking money from their
                   paychecks, and whose instructions were disregarded or ignored;
            g.     hold the South-Western City School District jointly and severally li-

                   able for the post-Janus union fees that it diverted from Ms. Littler’s
                   paycheck;

            h.     order OAPSE to pay punitive damages to Ms. Littler and all other
                   class members who, at any time after Janus, communicated their de-
                   sire to resign from the union or instructed the union to stop taking
                   money from their paychecks, and whose instructions were disregard-
                   ed or ignored;
            i.     order OAPSE to immediately honor and enforce a public employ-
                   ee’s decision to resign from the union and withdraw financial sup-
                   port, regardless of how the employee chooses to communicate the



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                   resignation and regardless of any law or previous agreement that
                   purports to limit the employee’s ability to halt the payment of un-
                   ion-related fees;
            j.     award costs and attorneys’ fees under 42 U.S.C. § 1988;
            k.     grant all other relief that the Court deems just, proper, or equitable.
                     DEMAND FOR RELIEF — CLAIM NO. 3
       52. Ms. Littler respectfully requests that the court:
            a.     certify a plaintiff class of all employees in bargaining units represent-
                   ed by OAPSE who either: (1) want to resign or have attempted to
                   resign their union membership and terminate financial support of
                   the union; or (2) would choose to leave or would have chosen to
                   leave the union and terminate financial support if they were fully in-
                   formed of their constitutional right to do so; (3) would decline to
                   opt in to union membership by providing “clear and affirmative as-
                   sent” if they were fully informed of their constitutional rights under
                   Janus; or (4) enrolled in union membership before or after Janus

                   without signing a fully informed and freely given waiver of one’s
                   constitutional rights to decline union membership and withhold fi-

                   nancial support from the union.
            b.     permanently enjoin the defendants, along with their officers, agents,
                   servants, employees, attorneys, and any other person or entity in ac-
                   tive concert or participation with them, from deducting or collecting
                   union membership dues from the paychecks of public employees un-
                   less and until that employee provides written consent to those pay-
                   roll deductions that post-dates the Supreme Court’s ruling in Janus
                   and that includes the following language: “I understand that I am



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                   not required to join the union or pay money to the union as a con-
                   dition of my employment. I further understand that a have a consti-
                   tutional right to withhold all monetary payments to the union simp-
                   ly by resigning my union membership, and I understand that the
                   union owes me a duty of fair representation regardless of whether I
                   remain a member of the union or give money to the union. Never-
                   theless, I am freely choosing to waive my constitutional rights under
                   the Supreme Court’s ruling in Janus v. American Federation of
                   State, County, and Municipal Employees, Council 31, 138 S. Ct.
                   2448 (2018), and I knowingly and freely consent to union member-
                   ship and to the payroll deduction of union membership dues.”
            c.     award costs and attorneys’ fees under 42 U.S.C. § 1988;
            d.     grant all other relief that the Court deems just, proper, or equitable.


                                              Respectfully submitted.

                                               /s/ Jonathan F. Mitchell
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                                         * admitted pro hac vice

                                         Counsel for Plaintiff and
    Dated: July 8, 2019                  the Proposed Classes




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